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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

RODNEY LEE MAJOR, SR., 247758,                  )
                                                )
           Plaintiff,                           )
                                                )
   v.                                           )       CIVIL ACTION NO. 2:19-CV-273-CSC
                                                )
WALTER MYERS, et al.,                           )
                                                )
           Defendants.                          )

                                    ORDER ON MOTION

        Upon review of the response filed by the plaintiff on October 2, 2019 (Doc. 37), which the

court construes to contain a motion for production of documents, it is

        ORDERED that:

        1. The motion for production of documents be GRANTED to the extent he seeks

production of relevant mental health records and denied to the extent he seeks production of his

medical records as such records were previously filed by the defendants on June 20, 2019. Doc.

24-1 through Doc. 24-6

        2. On or before October 24, 2019, the defendants shall file with the court and provide to

the plaintiff certified copies of his mental health records from October of 2017 through February

of 2018.

        DONE this 3rd day of October , 2019.



                                    /s/ Charles S. Coody
                                  UNITED STATES MAGISTRATE JUDGE
